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                                                  September 19, 2022

Via ECF
Hon. Kenneth M. Karas, U.S.D.J.
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601

       Re:     Pre-Motion Conference for Plaintiff’s Anticipated Motion for Confirmation
               of Arbitral Award
               Ahn v. MB Rye Metro Nail, Inc., No. 20-cv-09198 (KMK), (S.D.N.Y.)

Your Honor,

       This office represents the Plaintiff in the above-referenced matter. In accordance with your
Honor’s Individual Rules at II.A, we write respectfully to request that the arbitral award issued by
the American Arbitration Association (“AAA”) be confirmed pursuant to Section 9 of the Federal
Arbitration Act (“FAA”).

       Background and Procedural History

        On July 26, 2021, Plaintiff’s Motion to Compel Individual Arbitration was denied without
prejudice. See Docket Entry No. 27. An evidentiary hearing was held in the arbitration on May 2,
2022, before the at the American Arbitration Association midtown office, the Honorable Andrew
J. Peck, Arbitrator. On July 11, 2022, Arbitrator Peck, Arbitrator issued a final award of damages
and attorneys’ fees to Ahn, to be paid by respondents jointly and severally. See Exhibit 1 (final
award). Arbitrator Peck incorporated detailed findings of fact and conclusions of law explaining
his reasoning into the final award.

        To date, the final award amount has not been paid. Instead, in or around June 2022, between
about 7:00 and 8:00 PM, Defendant Kim approached Plaintiff Ahn while Plaintiff Ahn was waiting
in line at the cashier of the H-Mart supermarket located at 156:40 Northern Boulevard, Queens,
NY 11354, and told Plaintiff Ahn that “I will not leave you alone.” Then, on or about September
6, 2022, at about 8:10, Defendant Kim followed Plaintiff Kim in the van that was driving her to
her current employer, approached the driver while the van was stopped the driver at a red light,
gave the driver her phone number, and told the driver “there is something important I need to tell
you,” and said “you must call me” twice before driving away. We emailed and called Defendants’
attorney Justin Perri about these incident on September 8 and 14, but did not receive any response
by email or a call back. Plaintiff is considering whether to pursue claims against Defendant Kim
for retaliation and harassment.


       Argument: Judicial Confirmation of The Award Is Warranted
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        Under Section 9 of the FAA, judicial enforcement of an arbitral award is a “summary
proceeding that merely makes what is a final arbitration award a judgment of the court.” D.H. Blair
& Co. v. Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006) (citations omitted); see also 9 U.S.C. § 9.
The Second Circuit “has repeatedly recognized the strong deference appropriately due arbitral
awards and the arbitral process, and has limited its review of arbitration in obeisance to that
process.” Porzig v. Dresdner, Kleinwort, Benson, N. Am. LLC, 497 F.3d 133, 138 (2d Cir. 2007)
(citation omitted). Therefore, a request made to a federal court for enforcement of an arbitral award
“under the FAA is not an occasion for de novo review of [the] arbitral award,” Scandinavian
Reinsurance Co. v. St. Paul Marine & Fire Ins. Co., 668 F.3d 60, 71 (2d Cir. 2012), “nor an
occasion for the court to conduct a ‘reassessment of the evidentiary record.’” Nat’l Indem. Co. v.
IRB Brasil Resseguros S.A., 164 F. Supp. 3d 457, 474 (S.D.N.Y. 2016) (quoting Wallace v. Buttar,
378 F.3d 182, 193 (2d Cir. 2004)).

        The “goals of the FAA [are] achieved only to the extent that courts ensure arbitration is an
alternative to litigation, not an additional layer in a protracted contest.” Superior Site Work, Inc. v.
Triton Structural Concrete, Inc., No. 12-cv-04335 (SJF) (WDW), 2013 U.S. Dist. LEXIS 104300,
at *20 (E.D.N.Y. July 24, 2013). The FAA creates a “‘strong presumption in favor of enforcing
arbitration awards’” and courts have an “extremely limited” role in reviewing such awards. Landau
v. Eisenberg, 922 F.3d 495, 498 (2d Cir. 2019) (quoting Wall St. Assocs., L.P. v. Becker Paribas
Inc., 27 F.3d 845, 849 (2d Cir. 1994)). “In other words, ‘an arbitration award should be enforced,
despite a court's disagreement with it on the merits, if there is a barely colorable justification for
the outcome reached.’” Id. (quoting Landy Michaels Realty Corp. v. Local 32B-32J Service
Employees’ Int’l. Union, 954 F.2d 794, 797 (2d Cir. 1992)).

        “The burden of proof necessary to avoid confirmation of an arbitral award is very high,
and a district court will enforce the award as long as there is a barely colorable justification for the
outcome reached.” Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d
99, 103–04 (2d Cir. 2013) (internal citations and quotation marks omitted). Proof that vacatur of
an arbitration award is warranted must be shown by the party seeking vacatur, who “must clear a
high hurdle.” Scandinavian, 668 F.3d at 72 (quoting Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp.,
559 U.S. 662, 671 (2010)). “[T]he award should be confirmed if a ground for the arbitrator’s
decision can be inferred from the facts of the case.” Gottdiener, 462 F.3d at 110.

        Subject to the foregoing limitations, Section 10(a) of the FAA provides four circumstances
under which an arbitral award may be vacated: “(1) where the award was procured by corruption,
fraud, or undue means; (2) where there was evident partiality or corruption in the arbitrators, or
either of them; (3) where the arbitrators were guilty of misconduct in refusing to postpone the
hearing, upon sufficient cause shown, or in refusing to hear evidence pertinent and material to the



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controversy; or of any other misbehavior by which the rights of any party have been prejudiced;
or (4) where the arbitrators exceeded their powers, or so imperfectly executed them that a mutual,
final, and definite award upon the subject matter submitted was not made.” 9 U.S.C. 10(a). In
addition to these statutory grounds for vacatur, Second Circuit precedent provides district courts a
very limited power to vacate an arbitral award where it is found that the arbitrator has acted in
“manifest disregard of the law.” T.Co Metal, LLC v. Dempsey Pipe & Supply, Inc., 592 F.3d 329,
339–40 (2d Cir. 2010).

        Section 11 of the FAA permits modification, but not vacatur, of an arbitration award in
three limited situations: “(1) where there was an evident material miscalculation of figures or an
evident material mistake in the description of any person, thing, or property referred to in the award;
(2) where the arbitrators have awarded upon a matter not submitted to them, unless it is a matter
not affecting the merits of the decision upon the matter submitted; or (3) where the award is
imperfect in matter of form not affecting the merits of the controversy.” 9 U.S.C. § 11.

        Here, there is no indication whatsoever of any circumstance that could warrant judicial
rejection or modification of Arbitrator Cheng’s Award, especially given the high threshold for
vacatur. Accordingly, Plaintiff respectfully submits that confirmation of the Award is warranted.

        Finally, Section 12 of the FAA requires a party seeking to vacate, modify, or correct an
arbitration award to serve the adverse party or its attorney notice of its intent within three months
after the award is filed or delivered. See 9 U.S.C. § 12. Defendants have served no such notice.

      Accordingly, no grounds exist to vacate or modify the Award, and absent such grounds,
Claimant respectfully submits that the Court must expeditiously confirm the Award.

       We thank the Court for its attention to and consideration of this matter.

                                                   Respectfully submitted,
                                                   TROY LAW, PLLC

                                                   /s/ Aaron B. Schweitzer
                                                   Aaron B. Schweitzer
                                                   Attorney for Plaintiffs

cc: via ECF
    all counsel of record




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